                              Case 21-10461-JTD                     Doc 1        Filed 03/01/21            Page 1 of 27

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           CMC II, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                9 ___
                                              ___      0 ___
                                                  0 – ___ 7 ___
                                                             6 ___
                                                                6 ___
                                                                   9 ___
                                                                      7 ___
                                                                         3
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              800         Concourse Parkway South
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Maitland                    FL       32751
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Orange
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.consulatemgt.com
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                              Case 21-10461-JTD                 Doc 1       Filed 03/01/21              Page 2 of 27

Debtor        CMC II, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name



                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          ✔ None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               6 ___
                                             ___  2 ___
                                                     3 ___
                                                        1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ✔ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                 Case 21-10461-JTD               Doc 1      Filed 03/01/21            Page 3 of 27

Debtor         CMC II, LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
                                                   District _______________________ When _______________ Case number _________________________
      separate list.
                                                                                         MM / DD / YYYY


 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an                          See Annex 1.
                                         ✔ Yes. Debtor _____________________________________________               Affiliates.
                                                                                                     Relationship _________________________
      affiliate of the debtor?                              District of Delaware
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         

 12. Does the debtor own or have         ✔ No
                                         
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
Case 21-10461-JTD   Doc 1   Filed 03/01/21   Page 4 of 27
                           Case 21-10461-JTD                  Doc 1          Filed 03/01/21        Page 5 of 27

Debtor      CMC II, LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Robert A. Weber
                                          _____________________________________________            Date       03/01/2021
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Robert A. Weber
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Chipman Brown Cicero & Cole, LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1313        North Market Street, Suite 5400
                                         _________________________________________________________________________________________________
                                         Number      Street
                                         Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         302-295-0191
                                         ____________________________________                             weber@chipmanbrown.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         4013
                                         ______________________________________________________ DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
               Case 21-10461-JTD          Doc 1    Filed 03/01/21      Page 6 of 27




                                    ANNEX 1
                                     Schedule of Debtors

        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101 et seq., as amended. Substantially contemporaneously with the
filing of these petitions, these entities filed a motion requesting that their respective chapter 11
cases be jointly administered for procedural purposes only.

                                                         EMPLOYER IDENTIFICATION NUMBER
                         DEBTOR
                                                                     (EIN)


  1                    CMC II, LLC                                     XX-XXXXXXX


  2             Salus Rehabilitation, LLC                              XX-XXXXXXX


  3        207 Marshall Drive Operations LLC                           XX-XXXXXXX


  4          803 Oak Street Operations LLC                             XX-XXXXXXX


  5     Sea Crest Health Care Management, LLC                          XX-XXXXXXX


  6      Consulate Management Company, LLC                             XX-XXXXXXX
           Case 21-10461-JTD         Doc 1    Filed 03/01/21     Page 7 of 27




OMNIBUS ACTION BY WRITTEN CONSENT OF THE SOLE MEMBER OF
    EACH OF THE ENTITIES LISTED ON SCHEDULE A HERETO


                                      March 1, 2021

        WHEREAS, the Independent Manager (as defined herein) of each of the entities
listed on Schedule A hereto (each such entity, the “Company”), having been duly
authorized and empowered by the sole member of each Company (each such member, a
“Member”) to review, approve and implement strategic alternative transactions
(including, for the avoidance of doubt, strategic restructuring alternatives), has
considered presentations by the management of, and the financial and legal advisors to,
the Company regarding the liabilities and liquidity situation of the Company, the strategic
alternatives available to it, and the effect of the foregoing on the Company’s business,
creditors, and other parties in interest;

        WHEREAS, the Independent Manager, in the exercise of his delegated authority,
has had the opportunity to consult with the Company’s management, as well as financial
and legal advisors and other professionals, and fully consider each of the strategic
alternatives available to the Company;

        WHEREAS, based on his review of all available alternatives and advice provided
by such advisors and professionals, the Independent Manager, in the exercise of his
delegated authority, has determined that it is in the best interest of the Company, its
stakeholders, and other parties in interest for the Company to take the actions specified in
the following resolutions;

       WHEREAS, on September 14, 2020, the Member amended (the “Amendment”)
the Limited Liability Company Agreement of the Company to, among other things,
appoint Alan J. Carr as the initial Independent Manager of the Company (the
“Independent Manager”), with the aforesaid delegations of authority; and

        WHEREAS, pursuant to the authority granted the Independent Manager through
the Amendment, the Independent Manager has engaged Alvarez & Marsal North
America, LLC to provide Paul Rundell as the Chief Restructuring Officer (the “CRO”)
for the Company and such other personnel as may be required by the Company;

        WHEREAS, the Independent Manager has been presented with a proposed petition
to be filed by the Company in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) seeking relief under the provisions of chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”), in which the authority to
operate as a debtor-in-possession will be sought;

        WHEREAS, the Independent Manager, in the exercise of his delegated authority,
having considered the financial and operational aspects of the Company’s business and
the best course of action to maximize value, deems it advisable and in the best interests of
           Case 21-10461-JTD          Doc 1    Filed 03/01/21      Page 8 of 27




the Company, its creditors, and other interested parties that a voluntary petition be filed
by the Company seeking relief under the provisions of chapter 11 of the Bankruptcy
Code;

         WHEREAS, the Company contemplates entering, with its affiliates that will also
be debtors, into that certain Senior Secured Superpriority Debtor-in-Possession Credit
and Guaranty Agreement (the “DIP Agreement”) with CPSTN Operations, LLC, an
affiliated entity; and

        WHEREAS, the Company, together with its affiliates that will also be debtors, has
received term sheets that contemplate the Company’s entry into two asset purchase
agreements (each, an “APA”) with certain purchasers pursuant to which the Company
shall sell to the purchasers substantially all of the assets of the Company through a sale
process, including bidding procedures, as approved by the Bankruptcy Court, pursuant to
section 363 of the Bankruptcy Code; and

        WHEREAS, based upon the foregoing, in the judgment of the Independent
Manager, in the exercise of his delegated authority, it is desirable and in the best interests
of the Company, its creditors, equity holders, employees, and other interested parties that
the Company enter into the DIP Agreement, substantially in the form and substance
presented to the Independent Manager, and pursue the transactions contemplated thereby,
subject to such changes and alterations based on the reasonable business judgment of the
Independent Manager; and

        WHEREAS, based upon the foregoing, in the judgment of the Independent
Manager, in the exercise of his delegated authority, it is desirable and in the best interests
of the Company, its creditors, equity holders, employees, and other interested parties that
the Company negotiate and enter into the APAs, providing for the purchase of
substantially all of the assets of the Company, subject to higher and better offers (the
“Sales”), substantially in the form and substance to be presented to the Independent
Manager, and pursue the transactions contemplated thereby, subject to such changes and
alterations based on the reasonable business judgment of the Independent Manager.

       NOW, THEREFORE, BE IT HEREBY:

       Chapter 11 Case

        RESOLVED, that in the judgment of the Independent Manager, in the exercise of
his delegated authority, it is desirable and in the best interests of the Company, its
subsidiaries, creditors, employees, stakeholders, and other interested parties, that a
voluntary petition be filed by the Company seeking relief under the provisions of chapter
11 of the Bankruptcy Code, and the filing of such petition is authorized hereby; and it is
further

       RESOLVED, that in the judgment of the Independent Manager, in the exercise of
his delegated authority, it is desirable and in the best interests of the Company, its
subsidiaries, creditors, employees, stakeholders, and other interested parties, that Paul
           Case 21-10461-JTD         Doc 1     Filed 03/01/21     Page 9 of 27




Rundell be appointed as the Chief Restructuring Officer for the Company; and it is
further

       RESOLVED, that any officer duly authorized by the Company, through the
Independent Manager or the CRO (collectively, the “Authorized Officers”) are, and
each of them hereby is, authorized, directed, and empowered on behalf of the Company
to execute and verify a Petition in the name of the Company under the Bankruptcy Code
and to cause the same to be filed, in such form and at such time as the Authorized
Officers shall determine; and it is further

       RESOLVED, that the Authorized Officers, acting alone or with one or more other
Authorized Officers be, and they hereby are, authorized, empowered and directed to
execute and file on behalf of the Company all petitions, schedules, lists and other
motions, papers, or documents, and to take any and all action that they deem necessary or
proper to obtain such relief, including, without limitation, any action necessary to
maintain the ordinary course operation of the Company’s business; and it is further

        RESOLVED, that the Authorized Officers, and each of them, with full authority to
act without others, hereby are, authorized and directed to obtain postpetition financing
and/or use of cash collateral according to the terms negotiated and approved by the
Authorized Officers, including under one or more debtor-in-possession credit facilities;
and to enter into any guarantees and to pledge and grant liens on the Company’s assets as
contemplated by or required under the terms of such postpetition financing; and, in
connection therewith, the Authorized Officers are hereby authorized and directed to
execute appropriate loan agreements and related ancillary documents; and it is further

        RESOLVED, that the Authorized Officers, acting alone or with one or more other
Authorized Officers be, and they hereby are, authorized, empowered, and directed to
certify the authenticity of these resolutions.

       Entry into APAs and Related Sale Documents

        IT IS FURTHER RESOLVED, that the Authorized Officers be, and each hereby is,
authorized, directed and empowered to (i) negotiate, execute and deliver the APAs
providing for purchase of any or all of the assets of the Company, subject to higher and
better offers; (ii) enter into such additional agreements, consents, certificates,
amendments, and instruments as may be necessary to obtain approval for and effect the
transactions contemplated thereby; (iii) seek authority under the Bankruptcy Code and
any other relevant or applicable federal, state, local or non-U.S. law to sell such assets in
a Sale; (iv) organize and manage a sales process for such assets that is determined in the
reasonable judgment of the Authorized Officers, in consultation with the financial and
legal advisors of the Company, which may take the form of an auction or any other
process, and which may include the solicitation and identification of potential competing
bidders and as approved by the Bankruptcy Court; and it is further
          Case 21-10461-JTD         Doc 1    Filed 03/01/21     Page 10 of 27




      RESOLVED, that all other transactions contemplated by the APAs are hereby
approved and authorized, all on substantially the terms and conditions set forth in the
APAs; and it is further

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized
and directed, in the name and on behalf of the Company, to execute all petitions,
schedules, motions, lists, applications, pleadings, and other papers or documents, and to
take any and all such other and further actions which such Authorized Officer may deem
necessary, proper, or desirable in connection with the case under chapter 11 of the
Bankruptcy Code, the DIP Agreement, the APAs, the Sales, and other matters consistent
therewith, with a view to the successful prosecution of such case;

       Retention of Professionals

        IT IS FURTHER RESOLVED, that the Authorized Officers be, and hereby are,
authorized and empowered, on behalf of and in the name of the Company, to retain and
employ professionals to render services to the Company in connection with the chapter
11 case and the transactions contemplated by the foregoing resolutions, including,
without limitation, Chipman, Brown, Cicero & Cole, LLP, to act as chapter 11 counsel;
Alvarez & Marsal North America, LLC, to represent and assist the Chief Restructuring
Officer in carrying out its duties under the Bankruptcy Code; Evans Senior Investments
as Broker; and Bankruptcy Management Solutions, Inc., d/b/a Stretto, to act as claims
and noticing agent and administrative advisor; and in connection herewith each
Independent Manager is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed appropriate applications
for authority to retain the services of the foregoing; and it is further

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized
and directed to employ any other professionals to assist the Company in carrying out its
duties under the Bankruptcy Code and related matters; and in connection therewith, each
of the Authorized Officers be, and hereby is, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately
upon filing of the case under chapter 11 of the Bankruptcy Code, and cause to be filed an
appropriate application for authority to retain the services of any other professionals as
necessary.

       General Authority to Implement Resolutions

        IT IS FURTHER RESOLVED, that each Authorized Officer is hereby authorized
and empowered, on behalf of and in the name of the Company, to execute, deliver,
perform, verify, and/or file, or cause to be executed, delivered, performed, verified,
and/or filed (or direct others to do so on their behalf as provided herein) all necessary
documents, including, without limitation, all petitions, affidavits, statements, schedules,
motions, lists, applications, pleadings, other papers, additional security documents,
guarantees, reaffirmations, control agreements, waivers of or amendments to existing
documents, and to negotiate the forms, terms, and provisions of, and to execute and
deliver any amendments, modifications, waivers, or consent to any of the foregoing as
          Case 21-10461-JTD          Doc 1    Filed 03/01/21     Page 11 of 27




may be approved by any Authorized Officer, which amendments, modifications, waivers,
or consents may provide for consent payments, fees, or other amounts payable or other
modifications of or relief under such agreements or documents, the purpose of such
amendments, modifications, waivers, or consents being to facilitate consummation of the
transactions contemplated by the foregoing resolutions or for any other purpose, and, in
connection with the foregoing, to employ and retain all assistance by legal counsel,
investment bankers, accountants, restructuring professionals, or other professionals, and
to take any and all action which such Authorized Officer deems necessary or proper in
connection with the chapter 11 cases, including any and all action necessary or proper in
connection with obtaining authorization to use cash collateral and/or debtor-in-possession
financing (in such amounts and on such terms as may be agreed by any Authorized
Officer, including the grant of replacement and additional liens, as is necessary or proper
for the continuing conduct of the affairs of the Company and certain of its subsidiaries
and affiliates), with a view to the successful prosecution of the chapter 11 case
contemplated by the foregoing resolutions and the successful consummation of the
transactions contemplated by the foregoing resolutions including, without limitation, any
action necessary or proper to maintain the ordinary course operation of the Company’s
business; and it is further

        RESOLVED, that the Authorized Officers be, and hereby are, authorized to
execute, deliver, and perform any and all special powers of attorney as such Authorized
Officer may deem necessary or desirable to facilitate consummation of the transactions
contemplated by the foregoing resolutions, pursuant to which such Authorized Officer
will make certain appointments of attorneys to facilitate consummation of the
transactions contemplated by the foregoing resolutions as the Company’s true and lawful
attorneys and authorize each such attorney to execute and deliver any and all documents
of whatsoever nature and description that may be necessary or desirable to facilitate
consummation of the transactions contemplated by the foregoing resolutions; and be it
further

        RESOLVED, that the Authorized Officers be, and hereby are, authorized and
empowered, on behalf of and in the name of the Company, to amend, supplement, or
otherwise modify from time to time the terms of any documents, certificates, instruments,
agreements, financing statements, notices, undertakings, or other writings referred to in
the foregoing resolutions; and it is further

       RESOLVED, that the Authorized Officers be, and hereby are, authorized and
empowered, on behalf of and in the name of the Company, to take or cause to be taken
any and all such further action and to execute, deliver, perform, verify, and/or file, or
cause to be executed, delivered, performed, verified, and/or filed (or direct others to do so
on its behalf as provided herein) all such further documents, agreements, instruments,
financing statements, notices, undertakings, certificates, and other writings to effectuate
the purpose and intent of any and all of the foregoing resolutions; and it is further

       RESOLVED, that the Authorized Officers be, and hereby are, authorized and
empowered, on behalf of and in the name of the Company, to pay and direct the payment
of all fees and expenses as in the judgment of the Independent Manager shall be
          Case 21-10461-JTD         Doc 1     Filed 03/01/21     Page 12 of 27




necessary, proper, appropriate, desirable, or advisable to effectuate the purpose and intent
of any and all of the foregoing resolutions; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by the
Authorized Officers to seek relief on behalf of the Company under chapter 11 of the
Bankruptcy Code, or in connection with the chapter 11 case, or any matter related
thereto, be, and hereby are, adopted, ratified, confirmed, and approved in all respects as
the acts and deeds of the Company in all respects; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by the
Authorized Officers, or by any employees or agents of the Company, on or before the
date hereof in connections with the transactions contemplated by the foregoing
resolutions be, and they hereby are, ratified, confirmed, and approved in all respects as
the acts and deeds of the Company in all respects; and it is further

        RESOLVED, that the omission from these resolutions of any agreement,
document, or other arrangement contemplated by any of the agreements, instruments,
filings, or other documents described in the foregoing resolutions or any action to be
taken in accordance with any requirement of any of the agreements, instruments, filings,
or other documents described in the foregoing resolutions shall in no manner derogate
from the authority of the Independent Manager to take all actions necessary, desirable,
proper, advisable, or appropriate to consummate, effectuate, carry out, or further the
transaction contemplated by, and the intent and purposes of, the foregoing resolutions;
and be it further

        RESOLVED, that the authority conferred upon any Independent Manager by these
Resolutions is in addition to, and shall in no way limit, such other authority as the
Independent Manager may have with respect to the subject matter of the foregoing
resolutions, and that the omission from these Resolutions of any agreement or other
arrangement contemplated by any of the agreements, instruments, or documents
described in the foregoing resolutions or any action to be taken in accordance with any
requirement of any of the agreements, instruments, or documents described in the
foregoing resolutions shall in no manner derogate from the authority of the Independent
Manager to take any and all actions convenient, necessary, advisable, or appropriate to
consummate, effectuate, carry out, perform, or further the transactions contemplated by
and the intents and purposes of the foregoing resolutions; and it is further

        RESOLVED, the Independent Manager, in the exercise of his delegated authority,
has received sufficient notice of the actions and transactions relating to the matters
contemplated by the foregoing resolutions, as may be required by the Limited Liability
Company Agreement of the Company, or hereby waives any right to have received such
notice; and it is further

       RESOLVED, that the Authorized Officers (and any of their respective designees
and delegates) be and hereby are authorized and empowered to take all actions or not to
take any action in the name of the Company with respect to the transactions contemplated
by these resolutions hereunder as the sole shareholder, partner, member, managing
          Case 21-10461-JTD        Doc 1     Filed 03/01/21    Page 13 of 27




member, or manager (or similar role) of each subsidiary of the Company, as applicable,
as any Authorized Officer shall deem necessary proper, appropriate, desirable, or
advisable to effectuate the purposes of the transactions contemplated herein, including
authorizing and causing such subsidiaries to provide guaranties and grant liens in respect
of any financing transactions contemplated herein; and it is further

        RESOLVED, that to the extent that any of the actions authorized by any of the
foregoing resolutions have been taken by an Authorized Officer on behalf of the
Company, such actions are hereby ratified and confirmed in their entirety; and it is
further

       RESOLVED, that the Secretary of the Company, or any Authorized Officer, is
hereby authorized to certify and deliver, to any person to whom such certification and
delivery may be deemed necessary or appropriate in the opinion of such Secretary or
Independent Manager, a true copy of the foregoing resolutions.

       IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action
by Written Consent as of the date first written above.
Case 21-10461-JTD   Doc 1   Filed 03/01/21   Page 14 of 27




                            CMC II, LLC


                            By:    /s/ Alan J. Carr
                            Name: Alan J. Carr
                            Title: Independent Manager




 [SIGNATURE PAGE TO OMNIBUS ACTION BY WRITTEN CONSENT]
        Case 21-10461-JTD    Doc 1   Filed 03/01/21   Page 15 of 27




       IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action
by Written Consent as of the date first written above.

                                     207 MARSHALL DRIVE OPERATIONS
                                     LLC


                                     By:    /s/ Alan J. Carr
                                     Name: Alan J. Carr
                                     Title: Independent Manager




          [SIGNATURE PAGE TO OMNIBUS ACTION BY WRITTEN CONSENT]
        Case 21-10461-JTD    Doc 1   Filed 03/01/21   Page 16 of 27




       IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action
by Written Consent as of the date first written above.


                                     803 OAK STREET OPERATIONS LLC

                                     By:    /s/ Alan J. Carr
                                     Name: Alan J. Carr
                                     Title: Independent Manager
        Case 21-10461-JTD    Doc 1   Filed 03/01/21   Page 17 of 27




       IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action
by Written Consent as of the date first written above.


                                     CONSULATE MANAGEMENT
                                     COMPANY, LLC


                                     By:    /s/ Alan J. Carr
                                     Name: Alan J. Carr
                                     Title: Independent Manager
        Case 21-10461-JTD    Doc 1   Filed 03/01/21   Page 18 of 27




       IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action
by Written Consent as of the date first written above.

                                     SALUS REHABILITATION, LLC


                                     By:    /s/ Alan J. Carr
                                     Name: Alan J. Carr
                                     Title: Independent Manager




          [SIGNATURE PAGE TO OMNIBUS ACTION BY WRITTEN CONSENT]
        Case 21-10461-JTD    Doc 1   Filed 03/01/21   Page 19 of 27




       IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action
by Written Consent as of the date first written above.

                                     SEA CREST HEALTH CARE
                                     MANAGEMENT, LLC


                                     By:    /s/ Alan J. Carr
                                     Name: Alan J. Carr
                                     Title: Independent Manager




          [SIGNATURE PAGE TO OMNIBUS ACTION BY WRITTEN CONSENT]
        Case 21-10461-JTD       Doc 1   Filed 03/01/21    Page 20 of 27




                               SCHEDULE A



Companies:


  1. CMC II, LLC, a Florida Limited Liability Company


  2. 207 Marshall Drive Operations LLC, a Florida Limited Liability Company


  3. 803 Oak Street Operations LLC, a Florida Limited Liability Company


  4. Salus Rehabilitation, LLC, a Delaware Limited Liability Company


  5. Sea Crest Health Care Management, LLC, a Florida Limited Liability Company


  6. Consulate Management Company, LLC, a Florida Limited Liability Company




             [SCHEDULE A TO OMNIBUS ACTION BY WRITTEN CONSENT]
                                                              Case 21-10461-JTD                                                 Doc 1                      Filed 03/01/21                                          Page 21 of 27

     Fill in this information to identify the case:
     Debtor name: CMC II, LLC
     United States Bankruptcy Court for the: District of Delaware
     Case number (If known): ______________                                                                                                                                                                        ¨


     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11
                                                                                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                                                                                       if the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured, fill in total
                                                                                                                                                                                            Indicate if claim is       claim amount and deduction for value of collateral or setoff to calculate unsecured claim.
                                                                      Name, telephone number, and email address of creditor     Nature of the claim (for example, trade debts, bank loans, contingent,
Name of creditor and complete mailing address, including zip code
                                                                                           contact                              professional services, and government contracts)           unliquidated, or            Total claim, if                       Deduction for value of                     Unsecured claim
                                                                                                                                                                                           disputed                    partially secured                    collateral or setoff



     ANGELA RUCKH, AS RELATOR FOR THE UNITED STATES OF              DEREK HO, SILVIJA STRIKIS, JAMES WEBSTER III &
     AMERICA                                                        JOSEPH HALL
                                                                                                                                                                                                 CONTINGENT
     C/O KELLOGG HANSEN TODD FIEGL & FREDERICK, PLLC                                                                             THE UNITED STATES OF AMERICA AND THE STATE OF
1                                                                                                                                                                                               UNLIQUIDATED                                                                                                    UNDETERMINED
     1615 M ST NW STE 400                                           Phone: 202-326-7900                                            FLORIDA EX REL. ANGELA RUCKH V. CMC II, LLC
                                                                                                                                                                                                  DISPUTED
     WASHINGTON, DC 20036                                           Email: dho@kellogghansen.com; sstrikis@kellogghansen.com;
                                                                    jwebster@kellogghansen.com; jhall@kellogghansen.com




     GENESIS REHABILITATION SVCS                                    MICHAEL SHERMAN
     LOCKBOX# 821322                                                SENIOR VICE PRESIDENT, GENERAL COUNSEL
                                                                                                                                    NOTE PAYABLE ($56,250,628.37) + TRADE PAYABLE
2    RT. 38 & EAST GATE DRIVE                                                                                                                                                                                                                                                                                             $56,861,044
                                                                                                                                                    ($610,415.47)
     MOORESTOWN, NJ 08057                                           Phone: 610-444-6350
                                                                    Fax: 610-925-4000




     HEALTHCARE SERVICES GROUP                                      JASON BUNDICK, ESQ.
     3220 TILMAN DRIVE SUITE #300                                                                                                   NOTE PAYABLE ($19,158,796.68) + TRADE PAYABLE
3                                                                                                                                                                                                                                                                                                                         $19,468,795
     BENSALEM, PA 19020                                             Phone: 800-363-4274                                                             ($309,997.96)
                                                                    Email: info@hcsgcorp.com




  OMNICARE INC
                                                                    ALEXANDER M. KAYNE
  DEPT# 781668
                                                                    EVP GENERAL COUNSEL                                             NOTE PAYABLE ($10,644,256.15) + TRADE PAYABLE
4 PO BOX 78000                                                                                                                                                                                                                                                                                                            $10,702,350
                                                                                                                                                     ($58,094.24)
  DETROIT, MI 48278-1668
                                                                    Phone: 513-719-2600




     TRIDENT                                                        TOM MCCAFFERY
     6400 PINECREST DR., SUITE 100                                  GENERAL COUNSEL
5                                                                                                                                                    NOTE PAYABLE                                                                                                                                                           $2,511,785
     PLANO, TX 75024
                                                                    Phone: 800-786-8015




     WILLIAM C. AKERS, JR. INDIVIDUALLY & AS ADMINISTRATOR
     OF ESTATE OF ELEWEASE AKERS
                                                           JACQUES BALETTE, ESQ.
     C/O MARKS, BALETTE, GIESSEL & YOUNG, PLLC
6    ATTN: JACQUES BALETTE, ESQ.                                                                                                               SETTLEMENT AGREEMENT                                                                                                                                                            $650,000
                                                           Phone: 713-681-3070
     7521 WESTVIEW
                                                           Fax: 713-861-2811
     HOUSTON, TX 77055



  BRYAN FIKE AS PR OF THE ESTATE OF ROBERT FIKE
  C/O PARVEY & FRANKEL                                              ALLAN PARVEY, ESQ. & CARLOS CAVENAGO, III, ESQ.
  ATTN: ALLAN PARVEY, ESQ. & CARLOS CAVENAGO, III, ESQ.
7 2069 FIRST STREET                                                 Phone: 239-334-0300                                                        SETTLEMENT AGREEMENT                                                                                                                                                            $600,000
  STE 100                                                           Fax: 239-334-0992
  FORT MYERS, FL 33993                                              Email: Allan@parveyfrankel.com & Carlos@parveyfrankel.com




     MEDLINE INDUSTRIES INC                                         JIMMY ABRAMS
     500 ROSS ST                                                    COO
     ROOM 154-0460
8                                                                                                                                                    TRADE PAYABLE                                                                                                                                                             $555,834
     ATTN 382075                                                    Phone: 800-633-5463
     PITTSBURGH, PA 15262                                           Fax: 847-837-2765
                                                                    Email: finance@medline.com



  RUTH ANN DUGAN BY AND THROUGH ROSEMARIE
  CASEMAN, ATTORNEY-IN-FACT
  C/O WILKES & MCHUGH - TAMPA
9 ONE NORTH DALE MABRY HWY                                                                                                                     SETTLEMENT AGREEMENT                                                                                                                                                            $470,000
                                                                    Phone: 800-255-5070
  STE 800
                                                                    Fax: 813-286-8820
  TAMPA, FL 33609




     SANDRA MASTERS
     C/O WILKES & MCHUGH - TAMPA
     ONE NORTH DALE MABRY HWY
10                                                                                                                                             SETTLEMENT AGREEMENT                                                                                                                                                            $425,000
     STE 800                                                        Phone: 800-255-5070
     TAMPA, FL 33609                                                Fax: 813-286-8820




     JAMES EDWARD FOSTER
     C/O WILKES & MCHUGH - TAMPA
     ONE NORTH DALE MABRY HWY
11                                                                                                                                             SETTLEMENT AGREEMENT                                                                                                                                                            $420,000
     STE 800                                                        Phone: 800-255-5070
     TAMPA, FL 33609                                                Fax: 813-286-8820




   ESTATE OF BEDIE FINLEY BY AND THROUGH ANN PATE
   PERSONAL REPRESENTATIVE
   C/O WILKES & MCHUGH - TAMPA
12 ONE NORTH DALE MABRY HWY                                                                                                                    SETTLEMENT AGREEMENT                                                                                                                                                            $410,000
                                                                    Phone: 800-255-5070
   STE 800
                                                                    Fax: 813-286-8820
   TAMPA, FL 33609



   ESTATE OF PORTER WILEY SR. BY AND THROUGH LILLIE
   WILEY, PERSONAL REPRESENTATIVE
                                                                    MENDES, REINS & WILANDER; WILKES & MCHUGH
   C/O MENDES, REINS & WILANDER + WILKES & MCHUGH
13 4401 W. KENNEDY BLVD.                                                                                                                       SETTLEMENT AGREEMENT                                                                                                                                                           $400,000
                                                                    Phone: 813-535-5053; 800-255-5070
   SUITE 250
                                                                    Fax: 813-694-7368; 813-286-8820
   TAMPA, FL 33609



   ESTATE OF AUDREY G. PARKER BY AND THROUGH GARY
   PARKER, PERSONAL REPRESENTATVE
   C/O WILKES & MCHUGH - TAMPA
14 ONE NORTH DALE MABRY HWY                                                                                                                    SETTLEMENT AGREEMENT                                                                                                                                                           $382,500
                                                                    Phone: 800-255-5070
   STE 800
                                                                    Fax: 813-286-8820
   TAMPA, FL 33609



   ESTATE OF GEORGIA ROSELEE WREN BY AND THROUGH
   FAYERAN L. NORMAN, PERSONAL REPRESENTATIVE
   C/O WILKES & MCHUGH - TAMPA
15 ONE NORTH DALE MABRY HWY                                                                                                                    SETTLEMENT AGREEMENT                                                                                                                                                           $365,000
                                                                    Phone: 800-255-5070
   STE 800
                                                                    Fax: 813-286-8820
   TAMPA, FL 33609
                                                        Case 21-10461-JTD                                                     Doc 1                      Filed 03/01/21                                          Page 22 of 27


                                                                                                                                                                                                                 Amount of unsecured claim
                                                                                                                                                                                                                 if the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially secured, fill in total
                                                                                                                                                                                          Indicate if claim is   claim amount and deduction for value of collateral or setoff to calculate unsecured claim.
                                                                      Name, telephone number, and email address of creditor   Nature of the claim (for example, trade debts, bank loans, contingent,
Name of creditor and complete mailing address, including zip code
                                                                                           contact                            professional services, and government contracts)           unliquidated, or        Total claim, if                       Deduction for value of                     Unsecured claim
                                                                                                                                                                                         disputed                partially secured                    collateral or setoff



   SHARON MILLER AS ADMIN OF ESTATE OF SUTTERPHINE
   MILLER
                                                                    R. PAUL WILLIAMS, III, ESQ.
   C/O WILLIAMS, NEWMAN, WILLIAMS
16 ATTN: R. PAUL WILLIAMS, III, ESQ.                                                                                                         SETTLEMENT AGREEMENT                                                                                                                                                        $350,000
                                                                    Phone: 601-228-6722
   P.O. BOX 23785
                                                                    Fax: 601-949-3358
   JACKSON, MS 39225



   DOROTHY FLEMING BY AND THROUGH CYNTHIA MYERS,
   ATTORNEY-IN-FACT
   C/O WILKES & MCHUGH - TAMPA
17 ONE NORTH DALE MABRY HWY                                                                                                                  SETTLEMENT AGREEMENT                                                                                                                                                        $335,000
                                                                    Phone: 800-255-5070
   STE 800
                                                                    Fax: 813-286-8820
   TAMPA, FL 33609



   ESTATE OF SHEILA BALDREE BY AND THROUGH DOUGLAS
   STALLEY, PR
   C/O WILKES & MCHUGH - TAMPA
18 ONE NORTH DALE MABRY HWY                                                                                                                  SETTLEMENT AGREEMENT                                                                                                                                                        $300,000
                                                                    Phone: 800-255-5070
   STE 800
                                                                    Fax: 813-286-8820
   TAMPA, FL 33609




     GARY D. BASS
     C/O WILKES & MCHUGH - TAMPA
     ONE NORTH DALE MABRY HWY
19                                                                                                                                           SETTLEMENT AGREEMENT                                                                                                                                                       $275,000
     STE 800                                                        Phone: 800-255-5070
     TAMPA, FL 33609                                                Fax: 813-286-8820




   ESTATE OF WAVER NASH BY AND THROUGH SADIE JANE
   BELLEMY, PR
   C/O WILKES & MCHUGH
20 ONE NORTH DALE MABRY HWY                                                                                                                  SETTLEMENT AGREEMENT                                                                                                                                                       $270,000
                                                                    Phone: 800-255-5070
   STE 800
                                                                    Fax: 813-286-8820
   TAMPA, FL 33609




     ESTATE OF DOROTHY MENDOLA
     C/O WILKES & MCHUGH - TAMPA
     ONE NORTH DALE MABRY HWY
21                                                                                                                                           SETTLEMENT AGREEMENT                                                                                                                                                       $270,000
     STE 800                                                        Phone: 800-255-5070
     TAMPA, FL 33609                                                Fax: 813-286-8820




     MARY JEWELL FOR WILLIAM JEWELL, DECEASED
     C/O WILKES & MCHUGH - TAMPA
     ONE NORTH DALE MABRY HWY
22                                                                                                                                           SETTLEMENT AGREEMENT                                                                                                                                                       $265,000
     STE 800                                                        Phone: 800-255-5070
     TAMPA, FL 33609                                                Fax: 813-286-8820




   BERTHA OWSLEY, AS EXECUTRIX OF THE ESTATE OF MANIS
   OWSLEY
                                                      TYLER KOCH, ESQ.
   C/O MORGAN & MORGAN
23 ATTN: TYLER KOCH, ESQ.                                                                                                                    SETTLEMENT AGREEMENT                                                                                                                                                       $250,000
                                                      Phone: 859-219-4529
   333 WEST VINE STREET, STE 1200
                                                      Email: tforsythe@forthepeople.com
   LEXINGTON, KY 40507



   ESTATE OF FRANCES PAULINE HARPER BY JUDY ANN
   SILENCE, PR                                                      LANCE REINS, ESQ.
   C/O MCHUGH FULLER LAW GROUP
24 ATTN: LANCE REINS, ESQ.                                          Phone: 601-261-2220                                                      SETTLEMENT AGREEMENT                                                                                                                                                       $250,000
   97 ELIAS WHIDDON ROAD                                            Fax: 601-261-2481
   HATTISBURG, MS 39402                                             Email: lance@mrwlawgroup.com




     RICHARD JOHN BROWN
     C/O WILKES & MCHUGH - TAMPA
     ONE NORTH DALE MABRY HWY
25                                                                                                                                           SETTLEMENT AGREEMENT                                                                                                                                                       $240,000
     STE 800                                                        Phone: 800-255-5070
     TAMPA, FL 33609                                                Fax: 813-286-8820




   MICROSOFT CORPORATION
                                                                    DEV STAHLKOPF
   1950 N STEMMONS FWY
26 STE 5010                                                                                                                                        TRADE PAYABLE                                                                                                                                                        $235,747
                                                                    Phone: 425-882-8080
   DALLAS, TX 75207
                                                                    Fax: 425-936-7329




   MODCOMP INC
                                                                    ALEXANDER R. LUPINETTI
   CSPI TECHNOLOGY SOLUTIONS
27 1182 EAST NEWPORT CENTER DRIVE                                                                                                                  TRADE PAYABLE                                                                                                                                                        $230,981
                                                                    Phone: 954-571-4600
   DEERFIELD BEACH, FL 33442
                                                                    Email: hello@cspi.com



   ESTATE OF ANNIE RUTH HURLEY BY AND THROUGH THE PR,
   BARBARA HURLEY
   C/O FARAH & FARAH                                  LAURENCE C. HUTTMAN, ESQ.
   ATTN: LAURENCE C. HUTTMAN, ESQ
28                                                                                                                                           SETTLEMENT AGREEMENT                                                                                                                                                        $230,000
   10 WEST ADAMS ST                                   Phone: 904-549-6434
   3RD FLOOR                                          Email: Lhuttman@farahandfarah.com
   JACKSONVILLE, FL 32202



   ROBERT A. LEE BY AND THROUGH ROBERT E. LEE,
   ATTORNEY IN FACT
   C/O WILKES & MCHUGH - TAMPA
29 ONE NORTH DALE MABRY HWY                                                                                                                  SETTLEMENT AGREEMENT                                                                                                                                                        $225,000
                                                                    Phone: 800-255-5070
   STE 800
                                                                    Fax: 813-286-8820
   TAMPA, FL 33609



   MARY HOLT BY AND THROUGH TERESA MARGRAF, AS
   PERSONAL REPRSENTATIVE OF THE ESTATE
                                                                    SCOTT DISTASIO, ESQ.
   C/O DISTASIO LAW FIRM
   ATTN: SCOTT DISTASIO, ESQ.
30                                                                  Phone: 813-259-0022                                                      SETTLEMENT AGREEMENT                                                                                                                                                        $225,000
   1112 CHANNELSIDE DRIVE
                                                                    Fax: 813-259-0033
   STE 5
                                                                    Email: info@distasiofirm.com
   TAMPA, FL 33602
                    Case 21-10461-JTD              Doc 1       Filed 03/01/21         Page 23 of 27




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    CMC II, LLC, 1                                                   Case No. 21-xxxxx (xxx)

                      Debtors.                                       (Joint Administration Pending)



             DEBTORS’ CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), CMC II, LLC and certain of its debtor affiliates, as debtors and

debtors-in-possession in the above-captioned chapter 11 cases (collectively, the “Debtors”)

respectfully represent:

             1.     Each Debtor is wholly owned by its respective parent entity that holds 100% of

such Debtor’s membership and equity interests.

             2.     The Debtors in these chapter 11 cases are listed with their respective parent entities

in the following table:


                           DEBTOR                                            PARENT / SOLE MEMBER


    CMC II, LLC                                                 LaVie Care Centers, LLC

    Salus Rehabilitation, LLC                                   Salus Management Investment, LLC

    207 Marshall Drive Operations LLC                           Epsilon Health Care Properties, LLC

    803 Oak Street Operations LLC                               Epsilon Health Care Properties, LLC


1
      The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
      are as follows: CMC II, LLC (6973), Salus Rehabilitation, LLC (4037), 207 Marshall Drive Operations LLC
      (8470), 803 Oak Street Operations LLC (3900), Sea Crest Health Care Management, LLC (2940), and Consulate
      Management Company, LLC (5824). The address of the Debtors’ corporate headquarters is 800 Concourse
      Parkway South, Maitland, Florida 32751.
           Case 21-10461-JTD      Doc 1    Filed 03/01/21   Page 24 of 27




                DEBTOR                               PARENT / SOLE MEMBER


Sea Crest Health Care Management, LLC       Sea Crest Management Investment, LLC

Consulate Management Company, LLC           CMC II, LLC




                                          -2-
                      Case 21-10461-JTD            Doc 1     Filed 03/01/21        Page 25 of 27




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


       In re:                                                      Chapter 11

       CMC II, LLC, 1                                              Case No. 21-xxxxx (xxx)

                         Debtors.                                  (Joint Administration Pending)



                DEBTORS’ CONSOLIDATED LIST OF EQUITY SECURITY HOLDERS

                Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, CMC II, LLC

   and certain of its debtor affiliates, as debtors and debtors-in-possession in the above-captioned

   chapter 11 cases hereby provides the following list of holders of equity interests:

                                                                                   KIND/CLASS OF          PERCENTAGE OF
                                       NAME AND ADDRESS OF INTEREST                  INTEREST               INTERESTS
                DEBTOR
                                                      HOLDER                         (MEMBER               HELD (100%)
                                                                                     INTEREST)

CMC II, LLC                            LaVie Care Centers, LLC                     Member Interest              100%
                                       c/o Daniel E. Dias, Esq.
                                       800 Concourse Pkwy S., Suite 200
                                       Maitland, FL 32751
Salus Rehabilitation, LLC              Salus Management Investment, LLC            Member Interest              100%
                                       c/o Daniel E. Dias, Esq.
                                       800 Concourse Pkwy S., Suite 200
                                       Maitland, FL 32751
207 Marshall Drive Operations          Epsilon Health Care Properties, LLC         Member Interest              100%
LLC                                    c/o Daniel E. Dias, Esq.
                                       800 Concourse Pkwy S., Suite 200
                                       Maitland, FL 32751
803 Oak Street Operations LLC          Epsilon Health Care Properties, LLC         Member Interest              100%
                                       c/o Daniel E. Dias, Esq.
                                       800 Concourse Pkwy S., Suite 200
                                       Maitland, FL 32751



   1
         The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
         numbers, are as follows: CMC II, LLC (6973), Salus Rehabilitation, LLC (4037), 207 Marshall Drive
         Operations LLC (8470), 803 Oak Street Operations LLC (3900), Sea Crest Health Care Management,
         LLC (2940), and Consulate Management Company, LLC (5824). The address of the Debtors’ corporate
         headquarters is 800 Concourse Parkway South, Maitland, Florida 32751.
                  Case 21-10461-JTD    Doc 1    Filed 03/01/21   Page 26 of 27




                                                                 KIND/CLASS OF     PERCENTAGE OF
                             NAME AND ADDRESS OF INTEREST          INTEREST          INTERESTS
           DEBTOR
                                         HOLDER                    (MEMBER          HELD (100%)
                                                                   INTEREST)

Sea Crest Health Care        Sea Crest Management Investment,    Member Interest       100%
Management, LLC              LLC
                             c/o Daniel E. Dias, Esq.
                             800 Concourse Pkwy S., Suite 200
                             Maitland, FL 32751
Consulate Management         CMC II, LLC                         Member Interest       100%
Company, LLC                 c/o Daniel E. Dias, Esq.
                             800 Concourse Pkwy S., Suite 200
                             Maitland, FL 32751




                                               2
Case 21-10461-JTD   Doc 1   Filed 03/01/21   Page 27 of 27
